               Case 2:08-cr-00347-JCM-PAL                         Document 196                Filed 12/16/14               Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                            District
                                                      __________     of Nevada
                                                                 District of __________

                    United States of America
                               v.                                          )
              JUAN CARLOS NUNEZ-ROMERO                                     )
                                                                           )    Case No: 2:08-CR-0347-JCM-PAL
                                                                           )    USM No: 43587-048
Date of Original Judgment:                            01/25/2010           )
Date of Previous Amended Judgment:                                         )    THOMAS NAYLOR
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. ’       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   188                     months is reduced to 151                                  .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          01/25/2010              shall remain in effect.
IT IS SO ORDERED.

Order Date:
                   December 16, 2014
                                                                                                         Judge’s signature


Effective Date:                                                                        James C. Mahan, U.S. District Judge
                     (if different from order date)                                                    Printed name and title
